 1                      Index of Exhibits to Ridley Declaration
 2   Exhibit                           Description                             Page(s)
 3    No.
       1       A true and correct copy of excerpts from the Deposition of       1-34
 4             Fred Figueroa
       2       A true and correct copy of excerpts from the Deposition (Vol.    35-73
 5
               1) of Mr. Jason Ellis
 6     3       A true and correct copy of excerpts from the Deposition (Vol.    74-90
               2) of Mr. Jason Ellis
 7     4       A true and correct copy excerpts from the Deposition of Susan   91-106
 8             Huffman (Filed Under Seal)
       5       A true and correct copy of the OMDC Inmate Detainee             107-112
 9             Employment System Policy (2015), Policy No. 19-100
               (Public Version per Court Order Dkt. No. 107)
10
       6       A true and correct copy of OMDC’s Inmate Detainee               113-118
11             Employment System Policy (2017), Policy No. 19-100
               (Public Version per Court Order Dkt. No. 107)
12
       7       A true and correct copy of San Diego Correctional Facility’s    119-121
13             (“SDCF”) Inmate/Detainee Employment System (Policy No.
               19-100) (2011) (Public Version per Court Order Dkt. No.
14             107)
15     8       A true and correct copy of the California City Correctional     122-126
               Facility’s (“CCCF”) Inmate/Resident Work Assignment
16             Participation Policy (Policy No. 19-100) (2010) (Public
               Version per Court Order Dkt. No. 107)
17
       9       A true and correct copy of SDCF’s Work/Program Guidelines       127-131
18             (2008) (Public Version per Court Order Dkt. No. 107)
       10      A true and correct copy of SDCF’s Removal From Work              132
19             Detail Form (Public Version per Court Order Dkt. No. 107)
20     11      A true and correct copy of SDCF’s Inmate/Detainee                133
               Voluntary Work Program Agreement
21     12      A true and correct copy of a pay report for detainee workers    134-143
               generated from CoreCivic’s “Offender Management System”
22
               (Filed Under Seal)
23     13      A true and correct copy of a pay report for detainee workers    144-153
               generated from CoreCivic’s “Offender Management System”
24             (Filed Under Seal)
25     14      A true and correct copy of a pay report for detainee workers    154-163
               generated from CoreCivic’s “Offender Management System”
26             (Filed Under Seal)
27
       15      A true and correct copy of a pay report for detainee workers    164-173
               generated from CoreCivic’s “Offender Management System”
28             (Filed Under Seal)


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 1   16   A true and correct copy of a pay report for detainee workers   174-183
 2        generated from CoreCivic’s “Offender Management System”
          (Filed Under Seal)
 3   17   A true and correct copy of a pay report for detainee workers   184-193
          generated from CoreCivic’s “Offender Management System”
 4
          (Filed Under Seal)
 5   18   A true and correct copy of a pay report for detainee workers   194-203
          generated from CoreCivic’s “Offender Management System”
 6        (Filed Under Seal)
 7   19   A true and correct copy of SDCF’S Inmate/Detainee Safety        204
          Rules
 8   20   A true and correct copy of SDCF’s Hazardous Chemical            205
          Training
 9
     21   A true and correct copy of SDCF’s Inmate/Detainee Pre-          206
10        Assignment Training Record (Public Version per Court
          Order Dkt. No. 107)
11   22   A true and correct copy of CCCF’s Control of Hazardous         207-216
12        Chemicals Policy (2006) (Public Version per Court Order
          Dkt. No. 107)
13   23   A true and correct copy of CoreCivic’s Work Program            217-224
14
          Guidelines (Policy No. 18-100CC) (2013) and Approved
          Work Program Assignments for OMDC (2017) (Public
15        Version per Court Order Dkt. No. 107)
     24   A true and correct copy of CoreCivic’s Work Program            225-231
16
          Guidelines (Policy No. 18-100CC) (2016) and Approved
17        Work Program Assignments for OMDC (2016) (Public
          Version per Court Order Dkt. No. 107)
18   25   Intentionally Omitted
19   26   A true and correct copy of OMDC’s Buffer Job Description        232
          (Public Version per Court Order Dkt. No. 107)
20   27   A true and correct copy of OMDC’s Dining Hall Porter Job        233
          Description (Public Version per Court Order Dkt. No. 107)
21
     28   A true and correct copy of OMDC’s Laundry Job Description       234
22        (Public Version per Court Order Dkt. No. 107)
     29   A true and correct copy of OMDC’s Pod Porter Job                235
23        Description (Public Version per Court Order Dkt. No. 107)
24   30   A true and correct copy of OMDC’s Recreation Windows and        236
          Doors Job Description (Public Version per Court Order
25        Dkt. No. 107)
26
     31   A true and correct copy of OMDC’s Shower Porter Job             237
          Description (Public Version per Court Order Dkt. No. 107)
27   32   A true and correct copy of OMDC’s Food Service Operations      238-265
          Policy (2017) (Public Version per Court Order Dkt. No.
28
          107)

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 1   33   A true and correct copy of OMDC’s “Kitchen Workers”               266
 2        Memorandum Dated July 11, 2016 (Public Version per
          Court Order Dkt. No. 107)
 3   34   A true and correct copy of OMDC’s “Town Hall – Kitchen           267-268
          Workers” Memorandum Dated October 3, 2016 (Public
 4
          Version per Court Order Dkt. No. 107)
 5   35   A true and correct copy of OMDC’s “Kitchen Worker Rules,         269-270
          Numbers, Work Times and Incentives” Memorandum Dated
 6        October 19, 2016 (Public Version per Court Order Dkt. No.
 7        107)
     36   A true and correct copy of SDCF’s Food Service Operations        271-304
 8        Policy (2010) (Public Version per Court Order Dkt. No.
          107)
 9
     37   A true and correct copy of CCCF’s Food Service Operations        305-327
10        Policy (2011) (Public Version per Court Order Dkt. No.
          107)
11   38   A true and correct copy of the Contract Between the SDCF         328-409
12        and the Office of the Federal Detention Trustee, dated July
          2005 (Filed Under Seal)
13   39   A true and correct copy of CCCF’s Contract with the United       410-430
          States Department of Justice, dated September 2010 (Filed
14
          Under Seal)
15   40   A true and correct copy of CoreCivic’s Response to Plaintiffs’   431-437
          Amended Request for Admission
16
     41   A true and correct copy of excerpts from Plaintiff Sylvester     438-462
17        Owino’s detainee files (Public Version per Court Order
          Dkt. No. 107)
18   42   A true and correct copy of excerpts from Plaintiff Jonathan      463-473
19        Gomez’s detainee files (Public Version per Court Order
          Dkt. No. 107)
20

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